  Case 24-03859      Doc 83   Filed 06/03/24 Entered 06/04/24 06:46:48                 Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                       )                BK No.: 24-03859
The Neely Group, Inc.                        )
                                             )                Chapter: 11
                                             )
                                                              Honorable A. Benjamin Goldgar
                                             )
                                             )                1
              Debtor(s)                      )
   ORDER GRANTING IN PART AND CONTINUING IN PART OLD NATIONAL BANK'S
                                            MOTION FOR
            RELIEF FROM THE AUTOMATIC STAY TO SET OFF ACCOUNTS, OR IN
                         THE ALTERNATIVE, TO DISMISS OR CONVERT CASE
       This case coming before the court on the motion of Old National Bank's Motion for Relief from
the Automatic Stay to Set Off Accounts, or in the alternative, to Dismiss or Convert Case, due notice
having been given, and the court being fully advised, IT IS HEREBY ORDERED:

  1. The motion is granted in part and continued in part.

  2. As to the request for stay relief, the motion is granted. The stay is lifted to allow Old National
Bank to set off all amounts contained in Debtor's DIP Accounts (Account Number xx2491 and Account
Number xx2480) ("DIP Accounts") currently held at Old National Bank.

  3. The debtor must deposit all cash it is currently holding into its DIP Accounts.

  4. Old National Bank may place a "Stop Payment" hold on the s DIP Accounts to stop payment on
any pending or future transactions.

  5. Rule 4001(a)(3) does not apply to this order.

  6. The balance of Old National Bank's motion is continued to June 10, 2024, at 10:00 a.m. for a status
hearing.

                                                            Enter:


                                                                     Honorable A. Benjamin Goldgar
Dated: June 03, 2024                                                 United States Bankruptcy Judge

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